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                        EXHIBIT 31
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                              UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF MASACHUSETTS


  COMMONWEALTH OF
  MASSACHUSETTS, et al.,

         Plaintiffs,                                Civil Action No. ________________

                       v.

  NATIONAL INSTITUTES OF HEALTH,
  et al.,

         Defendants.


                                 Declaration of Ben Friedman

   I, Ben Friedman, hereby declare:

1. I am the Chief Operating Officer of The Research Foundation for The State University of

   New York (RF), a position I have held since 2024. As Chief Operating Officer, I have

   oversight of the day-to-day operations of the RF and I work to establish an environment that

   supports research and discovery across The State University of New York (“SUNY”) system.

   Prior to holding this position, I was Deputy Undersecretary for Operations at the National

   Oceanic and Atmospheric Administration.

2. As the RF Chief Operating Officer, I have personal knowledge of the matters set forth below,

   or have knowledge of the matters based on my review of information and records gathered

   by my staff.

3. I am providing this declaration to underscore the fact that public health research will be

   significantly compromised if the National Institutes of Health (“NIH”) Notice Number NOT-

   OD-25-068, Supplemental Guidance to the 2024 NIH Grants Policy Statement: Indirect Cost



                                                                                                  1
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   Rates, which purports to immediately reduce indirect costs payments to 15%, is

   implemented.

4. RF is the largest comprehensive university-connected research foundation in the country. It

   provides essential administrative services that enable SUNY faculty to devote themselves to

   SUNY’s core mission of educating students and conducting life changing research. RF was

   chartered in 1951 by the New York State Board of Regents as a non-profit education

   corporation. RF writes and submits grant proposals to agencies, foundations, and companies;

   establishes contracts and manages funding awarded to run campus-based research projects;

   protects and commercializes intellectual property created within those projects; and

   establishes enduring partnerships to advance research and research commercialization.

5. The SUNY System is comprised of 64 colleges and universities, 29 of which are directly

   operated by the State of New York. Of those, four SUNY campuses are designated R1

   research institutions: Binghamton University; Stony Brook University; University at Albany;

   and University at Buffalo. Attached hereto as Exhibit A is a chart prepared by RF showing

   negotiated Federal Facilities and Administrative Cost Rates (F&A, or “indirect costs”) for

   various SUNY campuses.

6. Taking into account all the NIH grants that have been awarded to SUNY, our campuses risk

   losing at least $79 million as a result of NIH’s 15% cap on indirect costs, including

   approximately $21.1 million in costs SUNY campuses will incur to support vital research in

   the next five months. This is almost certainly an undercount of potential losses, as most

   SUNY grants are awarded in yearly installments, and these figures count only the current

   active yearly installment.




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7. Indirect cost payments are absolutely essential to SUNY’s research programs. They fund a

   range of important tasks and personnel, without which SUNY’s lifesaving research will

   undoubtedly suffer. Among the work that is funded by indirect cost payments are

   workstreams that are required by specific grants, including compliance and financial audits.

   Additionally, indirect cost payments cover SUNY facilities – they quite literally “keep the

   lights on” – including, lab space, HVAC, custodial service, security costs, computers, and so

   on. It is not unusual for research universities to decline to accept research funding if the

   indirect cost payment is too low, as it costs the universities too much to cover facilities and

   administration costs from some other sources.

8. If the NIH notice remains in effect, SUNY institutions will face a Sophie’s Choice – either

   redirect funding from other essential programs or be forced to end lifesaving NIH funded

   research programs prematurely.

9. Ending these research programs will not only put lives at risk, but also waste the

   government’s prior investments. The advancements already made in critical areas such as

   cancer and Alzheimer’s disease mitigation or that otherwise support the government’s

   objectives of such research will also be lost as a result thereby, causing immediate and

   irreparable harm to SUNY and the general public.

10. Binghamton University has, currently, a negotiated rate for indirect costs, namely F&A, of

   58% for on-campus research. That rate is scheduled to increase to 58.5% on July 1, 2025, and

   to 59.5% on July 1, 2026. Attached hereto as Exhibit B is the Negotiated Indirect Cost Rate

   Agreement between RF o/b/o Binghamton University and the U.S. Department of Health &

   Human Services.




                                                                                                     3
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11. Stony Brook University has, currently, a negotiated rate for indirect costs, namely F&A, of

   59.5% for on-campus research. Attached hereto as Exhibit C is the Negotiated Indirect Cost

   Rate Agreement between RF o/b/o Stony Brook University and the U.S. Department of

   Health & Human Services.

12. University at Albany has, currently, a negotiated rate for indirect costs, namely F&A, of

   56.5% for on-campus research. Attached hereto as Exhibit D is the Negotiated Indirect Cost

   Rate Agreement between RF o/b/o University at Albany and the U.S. Department of Health

   & Human Services.

13. University at Buffalo has, currently, a negotiated rate for indirect costs, namely F&A, of 61%

   for on-campus research. That rate is scheduled to decrease to 60.10% on July 1, 2025.

   Attached hereto as Exhibit E is the Negotiated Indirect Cost Rate Agreement between RF

   o/b/o University at Buffalo and the U.S. Department of Health & Human Services.

14. The current rates were negotiated, and the above referenced rate agreements were executed

   with HHS, according to NIH’s long-established process drawing on years of precedent. The

   RF and SUNY reasonably relied on these rates in competing for NIH funded awards. The

   NIH notice had the effect of unilaterally modifying the terms of these awards without notice,

   thereby jeopardizing lifesaving ongoing publicly funded research.

15. The loss of these funds will immediately impact SUNY’s ability to draw critical funds used

   to pay expenses associated with important research that SUNY institutions conduct (facilities

   costs, payroll, human resources, information technology infrastructure used to support

   research, clinical trials management and support, and other indirect expenses).

16. SUNY researchers are conducting groundbreaking research that will cure diseases with the

   potential to save thousands of lives lives. The proposed sudden cuts imperil that lifesaving



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   research. Among the many lifesaving projects that are funded by NIH grants within SUNY

   are: a University at Albany project to study the role played by certain enzymes in cell

   signaling and their impact on the progression of cancer and cardiac disease; a Binghamton

   University study into ways to “de-risk” drug development programs for muscular dystrophy;

   a University at Buffalo project to develop a cost-effective blood test to detect potential brain

   aneurysms; and a Stony Brook University project to prevent and mitigate future infectious

   disease outbreaks.

17. RF next anticipates to draw funds on or around February 14, 2025. At that time, the reduced

   Indirect Cost rate will result in a loss of over $600,000 for recovery of costs SUNY has

   incurred in just the last two weeks.

I declare under penalty of perjury that the foregoing is true and correct to the best of my

knowledge.



Executed this 9th day of February, 2025, in Albany, New York.



                                                      /s/ Ben Friedman
                                                      Ben Friedman
                                                      Chief Operating Officer
                                                      The Research Foundation for The State
                                                      University of New York




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    Friedman Declaration



                    Exhibit A
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                                              FEDERAL FACILITIES AND ADMINISTRATIVE COST RATES
                                                 Applied to a Modified Total Direct Cost Base (Longform Schools)

                                                                                                                        Other
                                                                                                                      Sponsored
                                                          Research        DOD Research    DOD Research Instruction     Activities
Location                             Effective Date     (On-campus)       (On-campus)     (Off-campus) (On-campus)   (On-campus)    IPA     Other
Albany                               7/1/23-6/30/24          56.5             60.5             30.0        55.0          33.0        8.0
SUNYPoly (CNSE) (SUNYIT see below)   7/1/23-6/30/27          54.5             56.5             29.0        45.0            -         9.0
                                     7/1/23-6/30/24          57.0             60.0             29.0        50.0          38.0        9.0   19.2 (A)
                                     7/1/24-6/30/25          58.0             61.0             29.0        51.0          38.0        9.0   20.0 (A)
Binghamton
                                     7/1/25-6/30/26          58.5             61.5             29.0        51.0          38.0        9.0   20.0 (A)
                                     7/1/26-6/30/27          59.5             62.5             29.0        51.0          38.0        9.0   20.0 (A)
                                     7/1/24-6/30/25          61.0             64.0             29.0        55.5          42.0        8.5
Buffalo
                                     7/1/25-6/30/29         60.10             64.0             29.0        55.5          42.0        8.5
Stony Brook                          7/1/18-6/30/23          59.5             62.5             29.0        52.0          42.0        9.0
Upstate                              7/1/21-6/30/28          63.0             66.0             29.0        55.0          34.0       12.0
                                     7/1/24-6/30/25          63.0             66.0             29.0        50.0          34.0       11.0
Downstate
                                     7/1/25-6/30/29         62.20             66.0             29.0        50.0          34.0       11.0
SUNY ESF                             7/1/20-6/30/28          58.0             60.0             28.0        51.0          41.0       12.0
System Admin-Provost                 7/1/21-6/30/28          26.5             26.5               -         26.5          26.5         -

            (A) Trade adjustment center
Note: Off-Campus Rate is 26.0% on all programs except for DOD contracts or otherwise noted

                             Applied to a Modified Total Dirct Cost Base (Shortform Schools)
Location                             Effective Date      On-campus          Off-campus         IPA           Other
Brockport                            7/1/22-6/30/26           55.0              16.0
Buffalo State                        7/1/23-6/30/27           52.0              20.0            -              -
                                     7/1/21-6/30/25           59.7              19.8            -              -
Cortland
                                     7/1/25-6/30/29           59.5              19.8            -              -
                                     7/1/21-6/30/25           59.1              16.7            -              -
Fredonia
                                     7/1/25-6/30/29           59.0              16.7            -              -
Geneseo                              7/1/16-6/30/24           57.0              22.0
New Paltz                            7/1/22-6/30/26           60.0              19.0            -              -
                                     7/1/21-6/30/25           59.7              20.7            -              -
Old Westbury
                                     7/1/25-6/30/29           59.6              20.7            -              -
Oneonta                              7/1/22-6/30/26           60.0              22.0            -              -
Optometry                            7/1/22-6/30/26           63.5              27.4            -              -
                                     7/1/21-6/30/25           59.0              16.3           4.0             -
Oswego
                                     7/1/25-6/30/29           58.8              16.3           4.0             -
Plattsburgh                          7/1/22-6/30/26           58.5              16.0            -              -
                                     7/1/21-6/30/25           59.0              19.3            -              -
Potsdam
                                     7/1/25-6/30/29           58.7              19.3            -              -
Purchase                             7/1/22-6/30/26           63.0              21.0            -              -
                                     7/1/22-6/30/23           58.0              26.0            -              -
SUNYPoly (SUNYIT)
                                     7/1/23-6/30/27           59.0              26.0            -              -
                                     7/1/21-6/30/25           39.0              25.3            -              -
Empire
                                     7/1/25-6/30/29           38.9              25.3            -              -
Alfred                               7/1/23-6/30/27           59.0              26.0            -              -
Canton                               7/1/22-6/30/26           63.0              22.0
Cobleskill                           7/1/22-6/30/26           62.0              26.0            -              -
Delhi                                7/1/23-6/30/27           56.5              17.0            -              -
                                     7/1/21-6/30/25           59.3              17.3            -              -
Farmingdale
                                     7/1/25-6/30/29           59.3              17.3            -              -
Morrisville                          7/1/20-6/30/24           56.0              15.0            -              -
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    Friedman Declaration



                    Exhibit B
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                      COLLEGES AND UNIVERSITIES RATE AGREEMENT


EIN: 1146013200F5                                              Date: 04/15/2024
ORGANIZATION:                                                  FILING REF.: The preceding
RFSUNY and SUNY at Binghamton                                  agreement was dated
35 State Street, 3rd Floor                                     10/17/2023
Albany, NY 12207-2826

The rates approved in this agreement are for use on grants, contracts and other agreements
with the Federal Government, subject to the conditions in Section III.

SECTION I: INDIRECT COST RATES

 RATE TYPES:     FIXED    FINAL   PROV. (PROVISIONAL)              PRED. (PREDETERMINED)

         EFFECTIVE PERIOD
 TYPE    FROM         TO                 RATE(%) LOCATION         APPLICABLE TO
 PRED.   07/01/2023      06/30/2024        57.00 On-Campus        Research
 PRED.   07/01/2024      06/30/2025        58.00 On-Campus        Research
 PRED.   07/01/2025      06/30/2026        58.50 On-Campus        Research
 PRED.   07/01/2026      06/30/2027        59.50 On-Campus        Research
 PRED.   07/01/2023      06/30/2027        26.00 Off-Campus       Research
 PRED.   07/01/2023      06/30/2024        50.00 On-Campus        Instruction
 PRED.   07/01/2024      06/30/2027        51.00 On-Campus        Instruction
 PRED.   07/01/2023      06/30/2027        26.00 Off-Campus       Instruction
 PRED.   07/01/2023      06/30/2027        38.00 On-Campus        Other Sponsored Activities
 PRED.   07/01/2023      06/30/2027        26.00 Off-Campus       Other Sponsored Activities
 PRED.   07/01/2023      06/30/2024        60.00 On-Campus        Research DOD Contract
 PRED.   07/01/2024      06/30/2025        61.00 On-Campus        Research DOD Contract
 PRED.   07/01/2025      06/30/2026        61.50 On-Campus        Research DOD Contract
 PRED.   07/01/2026      06/30/2027        62.50 On-Campus        Research DOD Contract
 PRED.   07/01/2023      06/30/2027        29.00 Off-Campus       Research DOD Contract
 PRED.   07/01/2023      06/30/2024        19.20 On-Campus        Trade Adj. Asst. Ctr.
 PRED.   07/01/2024      06/30/2027        20.00 On-Campus        Trade Adj. Asst. Ctr.
 PRED.   07/01/2023      06/30/2027         9.00 On-Campus        IPA (A)
 PROV.   07/01/2027      Until Amended                            Use same rates and conditions as
                                                                  those cited for fiscal year ending Jun
                                                                  30, 2027



*BASE

________________________________________________________________________________________________
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ORGANIZATION: RFSUNY and SUNY at Binghamton
AGREEMENT DATE: 04/15/2024


Modified total direct costs, consisting of all direct salaries and wages, applicable fringe benefits,
materials and supplies, services, travel and up to the first $25,000 of each subaward (regardless of the
period of performance of the subawards under the award). Modified total direct costs shall exclude
equipment, capital expenditures, charges for patient care, rental costs, tuition remission, scholarships
and fellowships, participant support costs and the portion of each subaward in excess of $25,000. Other
items may only be excluded when necessary to avoid a serious inequity in the distribution of indirect
costs, and with the approval of the cognizant agency for indirect costs.

___________________________________________

(A) See Special Remarks (6)




________________________________________________________________________________________________
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ORGANIZATION: RFSUNY and SUNY at Binghamton
AGREEMENT DATE: 04/15/2024


SECTION I: FRINGE BENEFIT RATES**

 TYPE     FROM             TO                 RATE(%) LOCATION         APPLICABLE TO
 FIXED    7/1/2023         6/30/2024            40.00 All              Regular Employees
 FIXED    7/1/2023         6/30/2024            28.00 All              Post Doctorals
 FIXED    7/1/2023         6/30/2024            14.00 All              Summer Employees
 FIXED    7/1/2023         6/30/2024            13.00 All              Graduate Students
 FIXED    7/1/2023         6/30/2024             6.00 All              Undergraduate Student
 FIXED    7/1/2024         6/30/2025            39.50 All              Regular Employees
 FIXED    7/1/2024         6/30/2025            31.00 All              Post Doctorals
 FIXED    7/1/2024         6/30/2025            14.00 All              Summer Employees
 FIXED    7/1/2024         6/30/2025            13.00 All              Graduate Students
 FIXED    7/1/2024         6/30/2025             5.50 All              Undergraduate Student
 PROV.    7/1/2025         6/30/2028            39.50 All              Regular Employees
 PROV.    7/1/2025         6/30/2028            33.00 All              Post Doctorals
 PROV.    7/1/2025         6/30/2028            14.50 All              Summer Employees
 PROV.    7/1/2025         6/30/2028            13.50 All              Graduate Students
 PROV.    7/1/2025         6/30/2028             5.50 All              Undergraduate Student


** DESCRIPTION OF FRINGE BENEFITS RATE BASE:
Salaries and wages.




________________________________________________________________________________________________
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ORGANIZATION: RFSUNY and SUNY at Binghamton
AGREEMENT DATE: 04/15/2024


SECTION II: SPECIAL REMARKS

TREATMENT OF FRINGE BENEFITS:
The fringe benefits are charged using the rate(s) listed in the Fringe Benefits Section of this Agreement.
The fringe benefits included in the rate(s) are listed below.




________________________________________________________________________________________________
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ORGANIZATION: RFSUNY and SUNY at Binghamton
AGREEMENT DATE: 04/15/2024


1. These Facilities and Administrative cost rates apply when grants and contracts are awarded jointly to
Research Foundation for SUNY and SUNY at Binghamton.

2. For all activities performed in facilities not owned or leased by the institution or to which rent is
directly allocated to the project(s), the off-campus rate will apply. Grants or contracts will not be subject
to more than one Facilities and Administrative cost rate. If more than 50% of a project is performed off-
campus, the off-campus rate will apply to the entire project.

3. The fringe benefit costs listed below are reimbursed to the grantee through the direct fringe benefit
rates applicable to Research Foundation employees: Retiree Health Insurance, Retirement Expense,
Social Security, NYS Unemployment Insurance, NYS Disability Insurance, Group Health Insurance, Group
Life Insurance, Long Term Disability Insurance, Workers' Compensation, Dental Insurance, Vacation &
Sick Leave*, and Vision Benefits

*This component consists of payments for accrued unused vacation leave made in accordance with the
Research Foundation Leave Policy to employees who have terminated, changed accruing status, or
transferred. It also includes payments for absences over 30 calendar-days that are charged to sick leave.

The fringe benefit costs for State University of New York employees are charged utilizing the New York
State fringe benefit rate for federal funds. This approved rate is contained in the New York State-Wide
Cost Allocation Plan. This rate includes the following costs: Social Security, Retirement, Health Insurance,
Unemployment Benefits, Workers' Compensation, Survivors' Benefits, Dental Insurance, Employee Benefit
Funds, and Vision Benefits.

4. Equipment means tangible personal property (including information technology systems) having a
useful life of more than one year and a per-unit acquisition cost which equals or exceeds $5,000.

5. Treatment of Paid Absences: *Vacation, holiday, sick leave pay and other paid absences are included
in salaries and wages and are claimed on grants, contracts and other agreements as part of the normal
cost for salaries and wages. Separate claims for the cost of these paid absences are not made.

6. This rate applies to positions covered under the Intergovernmental Personnel Act (IPA) Mobility
Program. This rate includes the applicable administrative costs only.

7. Your next IDC proposal based on actual costs for the fiscal year ending 06/30/2026 is due in our
office by 12/31/2026, and your next FB proposal based on actual costs for the fiscal year ending
06/30/2024 is due in our office by 12/31/2024.

8. This rate agreement updates fringe benefit rates only.




________________________________________________________________________________________________
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ORGANIZATION: RFSUNY and SUNY at Binghamton
AGREEMENT DATE: 04/15/2024


SECTION III: GENERAL

 A.       LIMITATIONS:
 The rates in this Agreement are subject to any statutory or administrative limitations and apply to a given grant, contract or other
 agreement only to the extent that funds are available. Acceptance of the rates is subject to the following conditions: (1) Only costs
 incurred by the organization were included in its indirect cost pool as finally accepted: such costs are legal obligations of the
 organization and are allowable under the governing cost principles; (2) The same costs that have been treated as indirect costs are not
 claimed as direct costs; (3) Similar types of costs have been accorded consistent accounting treatment; and (4) The information
 provided by the organization which was used to establish the rates is not later found to be materially incomplete or inaccurate by the
 Federal Government. In such situations the rate(s) would be subject to renegotiation at the discretion of the Federal Government.

 B.       ACCOUNTING CHANGES:
 This Agreement is based on the accounting system purported by the organization to be in effect during the Agreement period.
 Changes to the method of accounting for costs which affect the amount of reimbursement resulting from the use of this Agreement
 require prior approval of the authorized representative of the cognizant agency. Such changes include, but are not limited to, changes
 in the charging of a particular type of cost from indirect to direct. Failure to obtain approval may result in cost disallowances.

 C.       FIXED RATES:
 If a fixed rate is in this Agreement, it is based on an estimate of the costs for the period covered by the rate. When the actual costs for
 this period are determined, an adjustment will be made to a rate of a future year(s) to compensate for the difference between the
 costs used to establish the fixed rate and actual costs.

 D.       USE BY OTHER FEDERAL AGENCIES:
 The rates in this Agreement were approved in accordance with the authority in Title 2 of the Code of Federal Regulations, Part 200 (2
 CFR 200), and should be applied to grants, contracts and other agreements covered by 2 CFR 200, subject to any limitations in A
 above. The organization may provide copies of the Agreement to other Federal Agencies to give them early notification of the
 Agreement.

 E.       OTHER:
 If any Federal contract, grant or other agreement is reimbursing indirect costs by a means other than the approved rate(s) in this
 Agreement, the organization should (1) credit such costs to the affected programs, and (2) apply the approved rate(s) to the
 appropriate base to identify the proper amount of indirect costs allocable to these programs.


BY THE INSTITUTION:                                                          ON BEHALF OF THE GOVERNMENT:

RFSUNY and SUNY at Binghamton                                                DEPARTMENT OF HEALTH AND HUMAN SERVICES
                                                                             (AGENCY)                        Digitally signed by Darryl W.
                                                                             Darryl W. Mayes -S Mayes -S
(INSTITUTION)
                                                                                                             Date: 2024.06.07 15:03:53 -04'00'
                                                                             (SIGNATURE)
(SIGNATURE)

 David Martin                                                                Darryl W. Mayes
(NAME)                                                                       (NAME)

 Associate Director of Cost Accounting                                       Deputy Director, Cost Allocation Services
(TITLE)                                                                      (TITLE)

 6/11/2024                                                                   04/15/2024
(DATE)                                                                       (DATE)


                                                                             HHS REPRESENTATIVE: Ryan McCarthy
                                                                             TELEPHONE:                       (212) 264-2069




________________________________________________________________________________________________
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Components of Published Facilities & Administrative Cost Rate

Institution : RFSUNY and SUNY at Binghamton

FY Covered by Rate:                       7/1/23-
Rate type: Predetermined                  06/30/27

Rate Component

1. Depreciation - Bldgs & Improvements      0.0%

2. Depreciation - Equipment                 0.0%

3. Operation & Maintenance                  0.0%

4. Interest                                 0.0%

5. Library                                  0.0%

6. General Administration                   0.0%        *

7. Departmental Administration             26.0%        *

8. Sponsored Funds Administration           0.0%        *

9. Utility Cost Adjustment                  0.0%

Published Off-Campus Rate - Research       26.0%



* Reflects provisions of Appendix III to Part 200 of Uniform Guidance - Indirect (F&A)
Costs Identification and Assignment, and Rate Determination for Institutions of Higher
Education (IHEs), C.8. dated December 26, 2013.



Name


Title        Associate Director of Cost Accounting




Date          2/6/2024
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Components of Published Facilities & Administrative Cost Rate

Institution : RFSUNY and SUNY at Binghamton

FY Covered by Rate:                            7/1/23-      7/1/24-    7/1/25-    7/1/26-
Rate type: Predetermined                       06/30/24     06/30/25   06/30/26   06/30/27

Rate Component

1. Depreciation - Bldgs & Improvements          5.0%         5.0%       5.0%       5.0%

2. Depreciation - Equipment                     4.0%         4.0%       4.0%       4.0%

3. Operation & Maintenance                      17.7%        18.7%     19.2%      20.2%

4. Interest                                     4.0%         4.0%       4.0%       4.0%

5. Library                                      2.0%         2.0%       2.0%       2.0%

6. General Administration                       0.0%         0.0%       0.0%       0.0%      *

7. Departmental Administration                  26.0%        26.0%     26.0%      26.0%      *

8. Sponsored Funds Administration               0.0%         0.0%       0.0%       0.0%      *

9. Utility Cost Adjustment                      1.3%         1.3%       1.3%       1.3%

Published On-Campus Rate- Research DOD          60.0%        61.0%     61.5%      62.5%



* Reflects provisions of Appendix III to Part 200 of Uniform Guidance - Indirect (F&A)
Costs Identification and Assignment, and Rate Determination for Institutions of Higher
Education (IHEs), C.8. dated December 26, 2013.



Name


Title   Associate Director of Cost Accounting




Date         2/6/2024
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Components of Published Facilities & Administrative Cost Rate

Institution : RFSUNY and SUNY at Binghamton

FY Covered by Rate:                            7/1/23-
Rate type: Predetermined                       06/30/24

Rate Component

1. Depreciation - Bldgs & Improvements          0.0%

2. Depreciation - Equipment                     0.0%

3. Operation & Maintenance                      0.0%

4. Interest                                     0.0%

5. Library                                      0.0%

6. General Administration                       0.0%         *

7. Departmental Administration                  29.0%        *

8. Sponsored Funds Administration               0.0%         *

9. Utility Cost Adjustment                      0.0%

Published Off-Campus Rate- Research DOD         29.0%



* Reflects provisions of Appendix III to Part 200 of Uniform Guidance - Indirect (F&A)
Costs Identification and Assignment, and Rate Determination for Institutions of Higher
Education (IHEs), C.8. dated December 26, 2013.



Name


Title        Associate Director of Cost Accounting




Date          2/6/2024
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Components of Published Facilities & Administrative Cost Rate

Institution : RFSUNY and SUNY at Binghamton

FY Covered by Rate:                       7/1/23-
Rate type: Predetermined                  06/30/27

Rate Component

1. Depreciation - Bldgs & Improvements      3.1%

2. Depreciation - Equipment                 0.1%

3. Operation & Maintenance                  6.6%

4. Interest                                 0.7%

5. Library                                  1.5%

6. General Administration                   0.0%        *

7. Departmental Administration             26.0%        *

8. Sponsored Funds Administration           0.0%        *

9. Student Services                         0.0%

Published On-Campus Rate - OSA             38.0%



* Reflects provisions of Appendix III to Part 200 of Uniform Guidance - Indirect (F&A)
Costs Identification and Assignment, and Rate Determination for Institutions of Higher
Education (IHEs), C.8. dated December 26, 2013.



Name


Title    Associate Director of Cost Accounting




Date         2/6/2024
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Components of Published Facilities & Administrative Cost Rate

Institution : RFSUNY and SUNY at Binghamton

FY Covered by Rate:                       7/1/23-
Rate type: Predetermined                  06/30/27

Rate Component

1. Depreciation - Bldgs & Improvements      0.0%

2. Depreciation - Equipment                 0.0%

3. Operation & Maintenance                  0.0%

4. Interest                                 0.0%

5. Library                                  0.0%

6. General Administration                   0.0%        *

7. Departmental Administration             26.0%        *

8. Sponsored Funds Administration           0.0%        *

9. Student Services                         0.0%

Published Off-Campus Rate - OSA            26.0%



* Reflects provisions of Appendix III to Part 200 of Uniform Guidance - Indirect (F&A)
Costs Identification and Assignment, and Rate Determination for Institutions of Higher
Education (IHEs), C.8. dated December 26, 2013.



Name


Title    Associate Director of Cost Accounting




Date      2/6/2024
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Components of Published Facilities & Administrative Cost Rate

Institution : RFSUNY and SUNY at Binghamton

FY Covered by Rate:                                 7/1/23-     7/1/24-
Rate type: Predetermined                            06/30/24    06/30/27

Rate Component

1. Depreciation - Bldgs & Improvements               7.0%        7.0%

2. Depreciation - Equipment                          0.7%        0.7%

3. Operation & Maintenance                           8.8%        9.8%

4. Interest                                          3.1%        3.1%

5. Library                                           4.4%        4.4%

6. General Administration                            0.0%        0.0%          *

7. Departmental Administration                       26.0%      26.0%          *

8. Sponsored Funds Administration                    0.0%        0.0%          *

9. Student Services                                  0.0%        0.0%

Published On-Campus Rate- Instruction                50.0%      51.0%

* Reflects provisions of Appendix III to Part 200 of Uniform Guidance - Indirect (F&A)
Costs Identification and Assignment, and Rate Determination for Institutions of Higher
Education (IHEs), C.8. dated December 26, 2013.



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Title   Associate Director of Cost Accounting




Date     2/6/2024
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Components of Published Facilities & Administrative Cost Rate

Institution : RFSUNY and SUNY at Binghamton

FY Covered by Rate:                                 7/1/23-
Rate type: Predetermined                            06/30/27

Rate Component

1. Depreciation - Bldgs & Improvements               0.0%

2. Depreciation - Equipment                          0.0%

3. Operation & Maintenance                           0.0%

4. Interest                                          0.0%

5. Library                                           0.0%

6. General Administration                            0.0%         *

7. Departmental Administration                       26.0%        *

8. Sponsored Funds Administration                    0.0%         *

9. Student Services                                  0.0%

Published Off-Campus Rate- Instruction               26.0%

* Reflects provisions of Appendix III to Part 200 of Uniform Guidance - Indirect (F&A)
Costs Identification and Assignment, and Rate Determination for Institutions of Higher
Education (IHEs), C.8. dated December 26, 2013.



Name


Title     Associate Director of Cost Accounting




Date      2/6/2024
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Components of Published Facilities & Administrative Cost Rate

Institution : RFSUNY and SUNY at Binghamton

FY Covered by Rate:                                 7/1/23-     7/1/24-
Rate type: Predetermined                            06/30/24    06/30/27

Rate Component

1. Depreciation - Bldgs & Improvements               0.0%        0.0%

2. Depreciation - Equipment                          0.0%        0.0%

3. Operation & Maintenance                           0.0%        0.0%

4. Interest                                          0.0%        0.0%

5. Library                                           0.0%        0.0%

6. General Administration                            9.0%        9.0%          *

7. Departmental Administration                       0.0%        0.0%          *

8. Sponsored Funds Administration                    10.2%      11.0%          *

9. Student Services                                  0.0%        0.0%

Published On-Campus Rate - TAAC                      19.2%      20.0%

* Reflects provisions of Appendix III to Part 200 of Uniform Guidance - Indirect (F&A)
Costs Identification and Assignment, and Rate Determination for Institutions of Higher
Education (IHEs), C.8. dated December 26, 2013.



Name


Title    Associate Director of Cost Accounting




Date     2/6/2024
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Components of Published Facilities & Administrative Cost Ra

Institution : RFSUNY and SUNY at Binghamton

FY Covered by Rate:                      7/1/23-
Rate type: Predetermined                 06/30/27

Rate Component

1. Depreciation - Bldgs & Improvements    0.0%

2. Depreciation - Equipment               0.0%

3. Operation & Maintenance                0.0%

4. Interest                               0.0%

5. Library                                0.0%

6. General Administration                 1.2%         *

7. Departmental Administration            0.0%         *

8. Sponsored Funds Administration         7.8%         *

9. Student Services                       0.0%

Published Rate - IPA                      9.0%

* Reflects provisions of Appendix III to Part 200 of Uniform G
Costs Identification and Assignment, and Rate Determination
Education (IHEs), C.8. dated December 26, 2013.



Name


Title    Associate Director of Cost Accounting




Date      2/6/2024
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    Friedman Declaration



                    Exhibit C
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                       COLLEGES AND UNIVERSITIES RATE AGREEMENT


EIN: 1146013200F7                                                Date: 04/15/2024
ORGANIZATION:                                                    FILING REF.: The preceding
RFSUNY and SUNY at Stony Brook                                   agreement was dated
35 State Street                                                  04/27/2023
Albany, NY 12207-2826

The rates approved in this agreement are for use on grants, contracts and other agreements
with the Federal Government, subject to the conditions in Section III.

SECTION I: INDIRECT COST RATES

 RATE TYPES:      FIXED       FINAL   PROV. (PROVISIONAL)            PRED. (PREDETERMINED)

         EFFECTIVE PERIOD
 TYPE    FROM         TO                  RATE(%) LOCATION          APPLICABLE TO
 PROV.   07/01/2023       Until Amended     59.50 On-Campus         Research
 PROV.   07/01/2023       Until Amended     26.00 Off-Campus        Research
 PROV.   07/01/2023       Until Amended     62.50 On-Campus         Research DOD Contract
 PROV.   07/01/2023       Until Amended     29.00 Off-Campus        Research DOD Contract
 PROV.   07/01/2023       Until Amended     52.00 On-Campus         Instruction
 PROV.   07/01/2023       Until Amended     26.00 Off-Campus        Instruction
 PROV.   07/01/2023       Until Amended     42.00 On-Campus         Other Sponsored Programs
 PROV.   07/01/2023       Until Amended     26.00 Off-Campus        Other Sponsored Programs
 PROV.   07/01/2023       Until Amended      9.00 All               IPA (A)



*BASE
Modified total direct costs, consisting of all direct salaries and wages, applicable fringe benefits,
materials and supplies, services, travel and up to the first $25,000 of each subaward (regardless of the
period of performance of the subawards under the award). Modified total direct costs shall exclude
equipment, capital expenditures, charges for patient care, rental costs, tuition remission, scholarships
and fellowships, participant support costs and the portion of each subaward in excess of $25,000. Other
items may only be excluded when necessary to avoid a serious inequity in the distribution of indirect
costs, and with the approval of the cognizant agency for indirect costs.
_______________________________

(A) See Special Remarks (6)




________________________________________________________________________________________________
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ORGANIZATION: RFSUNY and SUNY at Stony Brook
AGREEMENT DATE: 04/15/2024


SECTION I: FRINGE BENEFIT RATES**

 TYPE      FROM             TO                 RATE(%) LOCATION          APPLICABLE TO
 FIXED     7/1/2023         6/30/2024            40.00 All               Regular Employees
 FIXED     7/1/2023         6/30/2024             28.00 All              Post Doctorals
 FIXED     7/1/2023         6/30/2024             14.00 All              Summer Employees
 FIXED     7/1/2023         6/30/2024             13.00 All              Graduate Students
 FIXED     7/1/2023         6/30/2024              6.00 All              Undergraduate Student
 FIXED     7/1/2024         6/30/2025             39.50 All              Regular Employees
 FIXED     7/1/2024         6/30/2025             31.00 All              Post Doctorals
 FIXED     7/1/2024         6/30/2025             14.00 All              Summer Employees
 FIXED     7/1/2024         6/30/2025             13.00 All              Graduate Students
 FIXED     7/1/2024         6/30/2025              5.50 All              Undergraduate Student
 PROV.     7/1/2025         6/30/2028             39.50 All              Regular Employees
 PROV.     7/1/2025         6/30/2028             33.00 All              Post Doctorals
 PROV.     7/1/2025         6/30/2028             14.50 All              Summer Employees
 PROV.     7/1/2025         6/30/2028             13.50 All              Graduate Students
 PROV.     7/1/2025         6/30/2028              5.50 All              Undergraduate Student


** DESCRIPTION OF FRINGE BENEFITS RATE BASE:
Salaries and wages.




________________________________________________________________________________________________
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ORGANIZATION: RFSUNY and SUNY at Stony Brook
AGREEMENT DATE: 04/15/2024


SECTION II: SPECIAL REMARKS

TREATMENT OF FRINGE BENEFITS:
The fringe benefits are charged using the rate(s) listed in the Fringe Benefits Section of this Agreement.
The fringe benefits included in the rate(s) are listed below.




________________________________________________________________________________________________
                                                    Page 3 of 5                                    RU5711
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ORGANIZATION: RFSUNY and SUNY at Stony Brook
AGREEMENT DATE: 04/15/2024


1. These Facilities and Administrative cost rates apply when grants and contracts are awarded jointly to
Research Foundation for SUNY and SUNY at Stonybrook.

2. OFF-CAMPUS DEFINITION: For all activities performed in facilities not owned or leased by the
institution or to which rent is directly allocated to the project(s), the off-campus rate will apply. Grants or
contracts will not be subject to more than one Facilities and Administrative cost rate. If more than 50% of
a project is performed off-campus, the off-campus rate will apply to the entire project.

3. The fringe benefit costs listed below are reimbursed to the grantee through the direct fringe benefit
rates applicable to Research Foundation employees: Retiree Health Insurance, Retirement Expense,
Social Security, NYS Unemployment Insurance, NYS Disability Insurance, Group Health Insurance, Group
Life Insurance, Long Term Disability Insurance, Workers' Compensation, Dental Insurance, Vacation &
Sick Leave*, and Vision Benefits.

*This component consists of payments for accrued unused vacation leave made in accordance with the
Research Foundation Leave Policy to employees who have terminated, changed accruing status, or
transferred. It also includes payments for absences over 30 calendar-days that are charged to sick leave.

The fringe benefit costs for State University of New York employees are charged utilizing the New York
State fringe benefit rate for federal funds. This approved rate is contained in the New York State-Wide
Cost Allocation Plan. This rate includes the following costs: Social Security, Retirement, Health Insurance,
Unemployment Benefits, Workers' Compensation, Survivors' Benefits, Dental Insurance, Employee Benefit
Funds, and Vision Benefits.

4. Equipment means tangible personal property (including information technology systems) having a
useful life of more than one year and a per-unit acquisition cost which equals or exceeds $5,000.

5. Treatment of Paid Absences: *Vacation, holiday, sick leave pay and other paid absences are included
in salaries and wages and are claimed on grants, contracts and other agreements as part of the normal
cost for salaries and wages. Separate claims for the cost of these paid absences are not made.

6. This rate applies to positions covered under the Intergovernmental Personnel Act (IPA) Mobility
Program. This rate includes the applicable administrative costs only.

7. The one year rate extension of the indirect cost rate was granted in accordance with the OMB
Memorandum M-20-17.

8. Your next IDC proposal based on actual costs for the fiscal year ending 06/30/2022 is due in our
office by 12/31/2022 (proposal in-house), and your next FB proposal based on actual costs for the
fiscal year ending 06/30/2024 is due in our office by 12/31/2024.

9. This rate agreement updates the fringe benefit rates only.



________________________________________________________________________________________________
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ORGANIZATION: RFSUNY and SUNY at Stony Brook
AGREEMENT DATE: 04/15/2024


SECTION III: GENERAL

 A.       LIMITATIONS:
 The rates in this Agreement are subject to any statutory or administrative limitations and apply to a given grant, contract or other
 agreement only to the extent that funds are available. Acceptance of the rates is subject to the following conditions: (1) Only costs
 incurred by the organization were included in its indirect cost pool as finally accepted: such costs are legal obligations of the
 organization and are allowable under the governing cost principles; (2) The same costs that have been treated as indirect costs are not
 claimed as direct costs; (3) Similar types of costs have been accorded consistent accounting treatment; and (4) The information
 provided by the organization which was used to establish the rates is not later found to be materially incomplete or inaccurate by the
 Federal Government. In such situations the rate(s) would be subject to renegotiation at the discretion of the Federal Government.

 B.       ACCOUNTING CHANGES:
 This Agreement is based on the accounting system purported by the organization to be in effect during the Agreement period.
 Changes to the method of accounting for costs which affect the amount of reimbursement resulting from the use of this Agreement
 require prior approval of the authorized representative of the cognizant agency. Such changes include, but are not limited to, changes
 in the charging of a particular type of cost from indirect to direct. Failure to obtain approval may result in cost disallowances.

 C.       FIXED RATES:
 If a fixed rate is in this Agreement, it is based on an estimate of the costs for the period covered by the rate. When the actual costs for
 this period are determined, an adjustment will be made to a rate of a future year(s) to compensate for the difference between the
 costs used to establish the fixed rate and actual costs.

 D.       USE BY OTHER FEDERAL AGENCIES:
 The rates in this Agreement were approved in accordance with the authority in Title 2 of the Code of Federal Regulations, Part 200 (2
 CFR 200), and should be applied to grants, contracts and other agreements covered by 2 CFR 200, subject to any limitations in A
 above. The organization may provide copies of the Agreement to other Federal Agencies to give them early notification of the
 Agreement.

 E.       OTHER:
 If any Federal contract, grant or other agreement is reimbursing indirect costs by a means other than the approved rate(s) in this
 Agreement, the organization should (1) credit such costs to the affected programs, and (2) apply the approved rate(s) to the
 appropriate base to identify the proper amount of indirect costs allocable to these programs.


BY THE INSTITUTION:                                                          ON BEHALF OF THE GOVERNMENT:

RFSUNY and SUNY at Stony Brook                                               DEPARTMENT OF HEALTH AND HUMAN SERVICES
                                                                             (AGENCY)              Digitally signed by Darryl W.
(INSTITUTION)
                                                                             Darryl W. Mayes -S    Mayes -S
                                                                                                   Date: 2024.06.07 15:09:16 -04'00'
                                                                             (SIGNATURE)
(SIGNATURE)

 David Martin                                                                Darryl W. Mayes
(NAME)                                                                       (NAME)

 Associate Director of Cost Accounting                                       Deputy Director, Cost Allocation Services
(TITLE)                                                                      (TITLE)

 6/11/2024                                                                   04/15/2024
(DATE)                                                                       (DATE)


                                                                             HHS REPRESENTATIVE: Ryan McCarthy
                                                                             TELEPHONE:                       (212) 264-2069




________________________________________________________________________________________________
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Components of Published Facilities & Administrative Cost Rate

Institution : RFSUNY and SUNY at Stony Brook

FY Covered by Rate:                          7/1/19-
Rate type: Predetermined                     06/30/23

Rate Component

1. Depreciation - Bldgs & Improvements         5.2%

2. Depreciation - Equipment                    3.0%

3. Operation & Maintenance                    19.4%

4. Interest                                    3.0%

5. Library                                     1.6%

6. General Administration                      0.0%         *

7. Departmental Administration                26.0%         *

8. Sponsored Funds Administration              0.0%         *

9. Utility Cost Adjustment                     1.3%

Published On-Campus Rate- Research            59.5%



* Reflects provisions of Appendix III to Part 200 of Uniform Guida
Costs Identification and Assignment, and Rate Determination for
Education (IHEs), C.8. dated December 26, 2013.



Name


              Senior Director Cost Accounting and Procurement
Title

                 6/23/2020
Date
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Components of Published Facilities & Administrative Cost Rate

Institution : RFSUNY and SUNY at Stony Brook

FY Covered by Rate:                        7/1/19-
Rate type: Predetermined                   06/30/23

Rate Component

1. Depreciation - Bldgs & Improvements      0.0%

2. Depreciation - Equipment                 0.0%

3. Operation & Maintenance                  0.0%

4. Interest                                 0.0%

5. Library                                  0.0%

6. General Administration                   0.0%         *

7. Departmental Administration             26.0%         *

8. Sponsored Funds Administration           0.0%         *

9. Utility Cost Adjustment                  0.0%

Published Off-Campus Rate - Research       26.0%



* Reflects provisions of Appendix III to Part 200 of Uniform Guidance - Indirect (F&A)
Costs Identification and Assignment, and Rate Determination for Institutions of Higher
Education (IHEs), C.8. dated December 26, 2013.



Name

        Senior Director Cost Accounting and Procurement
Title


               6/23/2020
Date
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Components of Published Facilities & Administrative Cost Rate

Institution : RFSUNY and SUNY at Stony Brook

FY Covered by Rate:                             7/1/19-
Rate type: Predetermined                        06/30/23

Rate Component

1. Depreciation - Bldgs & Improvements            5.2%

2. Depreciation - Equipment                       3.0%

3. Operation & Maintenance                        19.4%

4. Interest                                       3.0%

5. Library                                        1.6%

6. General Administration                         10.3%        *

7. Departmental Administration                    11.0%        *

8. Sponsored Funds Administration                 7.7%         *

9. Utility Cost Adjustment                        1.3%

Published On-Campus Rate- Research DOD            62.5%



* Reflects provisions of Appendix III to Part 200 of Uniform Guidance - Indirect (F&A)
Costs Identification and Assignment, and Rate Determination for Institutions of Higher
Education (IHEs), C.8. dated December 26, 2013.



Name

          Senior Director Cost Accounting and Procurement
Title

              6/23/2020
Date
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Components of Published Facilities & Administrative Cost Rate

Institution : RFSUNY and SUNY at Stony Brook

FY Covered by Rate:                             7/1/19-
Rate type: Predetermined                        06/30/23

Rate Component

1. Depreciation - Bldgs & Improvements            0.0%

2. Depreciation - Equipment                       0.0%

3. Operation & Maintenance                        0.0%

4. Interest                                       0.0%

5. Library                                        0.0%

6. General Administration                       10.3%          *

7. Departmental Administration                  11.0%          *

8. Sponsored Funds Administration                 7.7%         *

9. Utility Cost Adjustment                        0.0%

Published Off-Campus Rate- Research DOD         29.0%



* Reflects provisions of Appendix III to Part 200 of Uniform Guidance - Indirect (F&A)
Costs Identification and Assignment, and Rate Determination for Institutions of Higher
Education (IHEs), C.8. dated December 26, 2013.



Name

             Senior Director Cost Accounting and Procurement

Title

                 6/23/2020

Date
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Components of Published Facilities & Administrative Cost Rate

Institution : RFSUNY and SUNY at Stony Brook

FY Covered by Rate:                        7/1/19-
Rate type: Predetermined                   06/30/23

Rate Component

1. Depreciation - Bldgs & Improvements      2.6%

2. Depreciation - Equipment                 1.8%

3. Operation & Maintenance                  9.2%

4. Interest                                 0.9%

5. Library                                  1.5%

6. General Administration                   0.0%         *

7. Departmental Administration             26.0%         *

8. Sponsored Funds Administration           0.0%         *

9. Student Services                         0.0%

Published On-Campus Rate - OSP             42.0%



* Reflects provisions of Appendix III to Part 200 of Uniform Guidance - Indirect (F&A)
Costs Identification and Assignment, and Rate Determination for Institutions of Higher
Education (IHEs), C.8. dated December 26, 2013.



Name


Title   Senior Director Cost Accounting and Procurement




Date                    6/23/2020
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Components of Published Facilities & Administrative Cost Rate

Institution : RFSUNY and SUNY at Stony Brook

FY Covered by Rate:                        7/1/19-
Rate type: Predetermined                   06/30/23

Rate Component

1. Depreciation - Bldgs & Improvements      0.0%

2. Depreciation - Equipment                 0.0%

3. Operation & Maintenance                  0.0%

4. Interest                                 0.0%

5. Library                                  0.0%

6. General Administration                   0.0%         *

7. Departmental Administration             26.0%         *

8. Sponsored Funds Administration           0.0%         *

9. Student Services                         0.0%

Published Off-Campus Rate - OSP            26.0%



* Reflects provisions of Appendix III to Part 200 of Uniform Guidance - Indirect (F&A)
Costs Identification and Assignment, and Rate Determination for Institutions of Higher
Education (IHEs), C.8. dated December 26, 2013.



Name

              Senior Director Cost Accounting and Procurement
Title

                6/23/2020
Date
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Components of Published Facilities & Administrative Cost Rate

Institution : RFSUNY and SUNY at Stony Brook

FY Covered by Rate:                               7/1/19-
Rate type: Predetermined                          06/30/23

Rate Component

1. Depreciation - Bldgs & Improvements             4.3%

2. Depreciation - Equipment                        0.6%

3. Operation & Maintenance                         12.0%

4. Interest                                        1.6%

5. Library                                         7.5%

6. General Administration                          0.0%         *

7. Departmental Administration                     26.0%        *

8. Sponsored Funds Administration                  0.0%         *

9. Student Services                                0.0%

Published On-Campus Rate- Instruction              52.0%

* Reflects provisions of Appendix III to Part 200 of Uniform Guidance - Indirect (F&A)
Costs Identification and Assignment, and Rate Determination for Institutions of Higher
Education (IHEs), C.8. dated December 26, 2013.



Name


         Senior Director Cost Accounting and Procurement
Title

               6/23/2020
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Components of Published Facilities & Administrative Cost Rate

Institution : RFSUNY and SUNY at Stony Brook

FY Covered by Rate:                               7/1/19-
Rate type: Predetermined                          06/30/23

Rate Component

1. Depreciation - Bldgs & Improvements             0.0%

2. Depreciation - Equipment                        0.0%

3. Operation & Maintenance                         0.0%

4. Interest                                        0.0%

5. Library                                         0.0%

6. General Administration                          0.0%         *

7. Departmental Administration                    26.0%         *

8. Sponsored Funds Administration                  0.0%         *

9. Student Services                                0.0%

Published Off-Campus Rate- Instruction            26.0%

* Reflects provisions of Appendix III to Part 200 of Uniform Guidance - Indirect (F&A)
Costs Identification and Assignment, and Rate Determination for Institutions of Higher
Education (IHEs), C.8. dated December 26, 2013.



Name

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Date
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Components of Published Facilities & Administrative Cost Ra

Institution : RFSUNY and SUNY at Stony Brook

FY Covered by Rate:                      7/1/19-
Rate type: Predetermined                 06/30/23

Rate Component

1. Depreciation - Bldgs & Improvement      0.0%

2. Depreciation - Equipment                0.0%

3. Operation & Maintenance                 0.0%

4. Interest                                0.0%

5. Library                                 0.0%

6. General Administration                  1.4%         *

7. Departmental Administration             0.0%         *

8. Sponsored Funds Administration          7.6%         *

9. Student Services                        0.0%

Published Rate - IPA                       9.0%

* Reflects provisions of Appendix III to Part 200 of Uniform G
Costs Identification and Assignment, and Rate Determination
Education (IHEs), C.8. dated December 26, 2013.



Name

              Senior Director Cost Accounting and Procurement
Title

               6/23/2020
Date
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    Friedman Declaration



                    Exhibit D
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                      COLLEGES AND UNIVERSITIES RATE AGREEMENT


EIN: 1146013200F3                                              Date: 04/15/2024
ORGANIZATION:                                                  FILING REF.: The preceding
RFSUNY and SUNY at Albany                                      agreement was dated
35 State Street, 3rd Floor                                     04/27/2023
Albany, NY 12207-2826

The rates approved in this agreement are for use on grants, contracts and other agreements
with the Federal Government, subject to the conditions in Section III.

SECTION I: INDIRECT COST RATES

 RATE TYPES:     FIXED    FINAL   PROV. (PROVISIONAL)              PRED. (PREDETERMINED)

         EFFECTIVE PERIOD
 TYPE    FROM         TO                 RATE(%) LOCATION         APPLICABLE TO
 PRED.   07/01/2023      06/30/2024        56.50 On-Campus        Research
 PRED.   07/01/2023      06/30/2024        26.00 Off-Campus       Research
 PRED.   07/01/2023      06/30/2024        55.00 On-Campus        Instruction
 PRED.   07/01/2023      06/30/2024        26.00 Off-Campus       Instruction
 PRED.   07/01/2023      06/30/2024        60.50 On-Campus        Research DOD Contract
 PRED.   07/01/2023      06/30/2024        30.00 Off-Campus       Research DOD Contract
 PRED.   07/01/2023      06/30/2024        33.00 On-Campus        Other Sponsored Activities
 PRED.   07/01/2023      06/30/2024        26.00 Off-Campus       Other Sponsored Activities
 PRED.   07/01/2023      06/30/2024         8.00 All              IPA (A)
 PROV.   07/01/2024      Until Amended                            Use same rates and conditions as
                                                                  those cited for fiscal year ending
                                                                  June 30, 2024.



*BASE




________________________________________________________________________________________________
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ORGANIZATION: RFSUNY and SUNY at Albany
AGREEMENT DATE: 04/15/2024


Modified total direct costs, consisting of all direct salaries and wages, applicable fringe benefits,
materials and supplies, services, travel and up to the first $25,000 of each subaward (regardless of the
period of performance of the subawards under the award). Modified total direct costs shall exclude
equipment, capital expenditures, charges for patient care, rental costs, tuition remission, scholarships
and fellowships, participant support costs and the portion of each subaward in excess of $25,000. Other
items may only be excluded when necessary to avoid a serious inequity in the distribution of indirect
costs, and with the approval of the cognizant agency for indirect costs.

_______________________________________________

(A) See Special Remarks (5)




________________________________________________________________________________________________
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ORGANIZATION: RFSUNY and SUNY at Albany
AGREEMENT DATE: 04/15/2024


SECTION I: FRINGE BENEFIT RATES**

 TYPE     FROM             TO             RATE(%) LOCATION          APPLICABLE TO
 FIXED    7/1/2023         6/30/2024        40.00 All               Regular Employees
 FIXED    7/1/2023         6/30/2024         28.00 All              Post Doctorals
 FIXED    7/1/2023         6/30/2024         14.00 All              Summer Employees
 FIXED    7/1/2023         6/30/2024         13.00 All              Graduate Students
 FIXED    7/1/2023         6/30/2024          6.00 All              Undergraduate Student
 FIXED    7/1/2024         6/30/2025         39.50 All              Regular Employees
 FIXED    7/1/2024         6/30/2025         31.00 All              Post Doctorals
 FIXED    7/1/2024         6/30/2025         14.00 All              Summer Employees
 FIXED    7/1/2024         6/30/2025         13.00 All              Graduate Students
 FIXED    7/1/2024         6/30/2025          5.50 All              Undergraduate Student
 PROV.    7/1/2025         6/30/2028         39.50 All              Regular Employees
 PROV.    7/1/2025         6/30/2028         33.00 All              Post Doctorals
 PROV.    7/1/2025         6/30/2028         14.50 All              Summer Employees
 PROV.    7/1/2025         6/30/2028         13.50 All              Graduate Students
 PROV.    7/1/2025         6/30/2028          5.50 All              Undergraduate Student


** DESCRIPTION OF FRINGE BENEFITS RATE BASE:
Salaries and wages.




________________________________________________________________________________________________
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ORGANIZATION: RFSUNY and SUNY at Albany
AGREEMENT DATE: 04/15/2024


SECTION II: SPECIAL REMARKS

TREATMENT OF FRINGE BENEFITS:
The fringe benefits are charged using the rate(s) listed in the Fringe Benefits Section of this Agreement.
The fringe benefits included in the rate(s) are listed below.

1. These Facilities and Administrative cost rates apply when grants and contracts are awarded jointly to
Research Foundation for SUNY and SUNY at Albany.

2. For all activities performed in facilities not owned or leased by the institution or to which rent is
directly allocated to the project(s), the off campus rate will apply. Actual costs will be apportioned
between on-campus and off-campus components. Each portion will bear the appropriate rate.

3. The fringe benefit costs listed below are reimbursed to the grantee through the direct fringe benefit
rates applicable to Research Foundation employees: Retiree Health Insurance, Retirement Expense,
Social Security, NYS Unemployment Insurance, NYS Disability Insurance, Group Health Insurance, Group
Life Insurance, Long Term Disability Insurance, Workers' Compensation, Dental Insurance, Vacation &
Sick Leave*, and Vision Benefits.

*This component consists of payments for accrued unused vacation leave made in accordance with the
Research Foundation Leave Policy to employees who have terminated, changed accruing status, or
transferred. It also includes payments for absences over 30 calendar-days that are charged to sick leave.

The fringe benefit costs for State University of New York employees are charged utilizing the New York
State fringe benefit rate for federal funds. This approved rate is contained in the New York State-Wide
Cost Allocation Plan. This rate includes the following costs: Social Security, Retirement, Health Insurance,
Unemployment Benefits, Workers' Compensation, Survivors' Benefits, Dental Insurance, Employee Benefit
Funds, and Vision Benefits.

4. Treatment of Paid Absences: *Vacation, holiday, sick leave pay and other paid absences are included
in salaries and wages and are claimed on grants, contracts and other agreements as part of the normal
cost for salaries and wages. Separate claims for the cost of these paid absences are not made.

5. This rate applies to positions covered under the Intergovernmental Personnel Act (IPA) Mobility
Program. This rate includes the applicable administrative costs only.

6. Equipment means tangible personal property (including information technology systems) having a
useful life of more than one year and a per-unit acquisition cost which equals or exceeds $5,000.

7. Your next IDC proposal based on actual costs for the fiscal year ending 06/30/2023 is due in our
office by 12/31/2023, and you next FB proposal based on actual costs for the fiscal year ending
06/30/2024 is due in our office by 12/31/2024.

8. This rate agreement updates fringe benefit rates only.

________________________________________________________________________________________________
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ORGANIZATION: RFSUNY and SUNY at Albany
AGREEMENT DATE: 04/15/2024


SECTION III: GENERAL

 A.       LIMITATIONS:
 The rates in this Agreement are subject to any statutory or administrative limitations and apply to a given grant, contract or other
 agreement only to the extent that funds are available. Acceptance of the rates is subject to the following conditions: (1) Only costs
 incurred by the organization were included in its indirect cost pool as finally accepted: such costs are legal obligations of the
 organization and are allowable under the governing cost principles; (2) The same costs that have been treated as indirect costs are not
 claimed as direct costs; (3) Similar types of costs have been accorded consistent accounting treatment; and (4) The information
 provided by the organization which was used to establish the rates is not later found to be materially incomplete or inaccurate by the
 Federal Government. In such situations the rate(s) would be subject to renegotiation at the discretion of the Federal Government.

 B.       ACCOUNTING CHANGES:
 This Agreement is based on the accounting system purported by the organization to be in effect during the Agreement period.
 Changes to the method of accounting for costs which affect the amount of reimbursement resulting from the use of this Agreement
 require prior approval of the authorized representative of the cognizant agency. Such changes include, but are not limited to, changes
 in the charging of a particular type of cost from indirect to direct. Failure to obtain approval may result in cost disallowances.

 C.       FIXED RATES:
 If a fixed rate is in this Agreement, it is based on an estimate of the costs for the period covered by the rate. When the actual costs for
 this period are determined, an adjustment will be made to a rate of a future year(s) to compensate for the difference between the
 costs used to establish the fixed rate and actual costs.

 D.       USE BY OTHER FEDERAL AGENCIES:
 The rates in this Agreement were approved in accordance with the authority in Title 2 of the Code of Federal Regulations, Part 200 (2
 CFR 200), and should be applied to grants, contracts and other agreements covered by 2 CFR 200, subject to any limitations in A
 above. The organization may provide copies of the Agreement to other Federal Agencies to give them early notification of the
 Agreement.

 E.       OTHER:
 If any Federal contract, grant or other agreement is reimbursing indirect costs by a means other than the approved rate(s) in this
 Agreement, the organization should (1) credit such costs to the affected programs, and (2) apply the approved rate(s) to the
 appropriate base to identify the proper amount of indirect costs allocable to these programs.


BY THE INSTITUTION:                                                          ON BEHALF OF THE GOVERNMENT:

RFSUNY and SUNY at Albany                                                    DEPARTMENT OF HEALTH AND HUMAN SERVICES
                                                                             (AGENCY)                       Digitally signed by Darryl W.
(INSTITUTION)
                                                                             Darryl W. Mayes -S Mayes -S
                                                                                                            Date: 2024.06.07 14:53:14 -04'00'
                                                                             (SIGNATURE)
(SIGNATURE)

  David Martin                                                               Darryl W. Mayes
(NAME)                                                                       (NAME)

 Associate Director of Cost Accounting                                       Deputy Director, Cost Allocation Services
(TITLE)                                                                      (TITLE)

 6/11/2024                                                                   04/15/2024
(DATE)                                                                       (DATE)


                                                                             HHS REPRESENTATIVE: Ryan McCarthy
                                                                             TELEPHONE:                       (212) 264-2069




________________________________________________________________________________________________
                                                               Page 5 of 5                                                      RU5708
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Components of Published Facilities and Administrative Cost Rate


Institution:                     RFSUNY and SUNY at Albany
FY Covered by Rate:              Fiscal Year Ending 6/30/20 - 6/30/24

                                                             FYE 2020       FYE 2021         FYE 2022-23 FYE 2024
         Rate Component                                       FINAL          PRED.             PRED.      PRED.

1. a. Depreciation - Bldgs & Improvements                          4.70%            4.70%          5.90%    6.00%

  b. Depreciation - Moveable Equipment                             3.20%            3.20%          3.20%    3.30%

2. Interest                                                        3.20%            3.20%          4.40%    4.50%

3. Operation & Maintenance                                        15.10%            15.10%        14.20%   14.40%

4. General Administration                                          0.00%            0.00%          0.00%    0.00% *

5. Departmental Administration                                    26.00%            26.00%        26.00%   26.00% *

6. Sponsored Projects Administration                               0.00%            0.00%          0.00%    0.00% *

7. Library                                                         1.80%            1.80%          1.80%    1.80%

8. Student Services                                                0.00%            0.00%          0.00%    0.00%

9. Utility Cost Adjustment                                         0.50%            0.50%          0.50%    0.50%

Published On-Campus Rate - Organized Research                    54.5%              54.5%         56.0%    56.5%

* Reflects provisions of Uniform Guidance, Appendix III to Part 200, Section C.8.




Name :
              Senior Director Cost Accounting and Procurement
Title:
               3/5/2021
Date:
                      Case 1:25-cv-10338-AK      Document 6-31     Filed 02/10/25   Page 47 of 70




Components of Published Facilities and Administrative Cost Rate


Institution:                     RFSUNY and SUNY at Albany
FY Covered by Rate:              Fiscal Year Ending 6/30/20 - 6/30/24

                                                            FYE 2020     FYE 2021      FYE 2022-23 FYE 2024
         Rate Component                                      FINAL        PRED.          PRED.      PRED.

1. a. Depreciation - Bldgs & Improvements                        4.70%         4.70%         5.90%    6.00%

  b. Depreciation - Moveable Equipment                           3.20%         3.20%         3.20%    3.30%

2. Interest                                                      3.20%         3.20%         4.40%    4.50%

3. Operation & Maintenance                                      15.10%       15.10%         14.20%   14.40%

4. General Administration                                        0.00%         0.00%         0.00%    0.00%

5. Departmental Administration                                  30.00%       30.00%         30.00%   30.00%

6. Sponsored Projects Administration                             0.00%         0.00%         0.00%    0.00%

7. Library                                                       1.80%         1.80%         1.80%    1.80%

8. Student Services                                              0.00%         0.00%         0.00%    0.00%

9. Utility Cost Adjustment                                       0.50%         0.50%         0.50%    0.50%

Published On-Campus Rate -Research DOD Contracts                58.5%        58.5%          60.0%    60.5%




Name :
              Senior Director Cost Accounting and Procurement
Title:
                3/5/2021
Date:
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Components of Published Facilities and Administrative Cost Rate


Institution:                     RFSUNY and SUNY at Albany
FY Covered by Rate:              Fiscal Year Ending 6/30/20 - 6/30/24

                                                             FYE 2020 FYE 2021-24
         Rate Component                                       FINAL     PRED.

1. a. Depreciation - Bldgs & Improvements                          0.00%             0.00%

  b. Depreciation - Moveable Equipment                             0.00%             0.00%

2. Interest                                                        0.00%             0.00%

3. Operation & Maintenance                                         0.00%             0.00%

4. General Administration                                          0.00%             0.00% *

5. Departmental Administration                                    26.00%            26.00% *

6. Sponsored Projects Administration                               0.00%             0.00% *

7. Library                                                         0.00%             0.00%

8. Student Services                                                0.00%             0.00%

9. Utility Cost Adjustment                                         0.00%             0.00%


Published Off-Campus Rate - Organized Research                   26.0%              26.0%

* Reflects provisions of Uniform Guidance, Appendix III to Part 200, Section C.8.



Name :
              Senior Director Cost Accounting and Procurement
Title:
                 3/5/2021
Date:
                       Case 1:25-cv-10338-AK      Document 6-31       Filed 02/10/25   Page 49 of 70




Components of Published Facilities and Administrative Cost Rate


Institution:                      RFSUNY and SUNY at Albany
FY Covered by Rate:               Fiscal Year Ending 6/30/20 - 6/30/24

                                                                FYE 2020 FYE 2021-24
         Rate Component                                          FINAL     PRED.
1. a. Depreciation - Bldgs & Improvements                          0.00%          0.00%

  b. Depreciation - Moveable Equipment                             0.00%          0.00%

2. Interest                                                        0.00%          0.00%

3. Operation & Maintenance                                         0.00%          0.00%

4. General Administration                                          0.00%          0.00%

5. Departmental Administration                                     30.00%       30.00%

6. Sponsored Projects Administration                               0.00%          0.00%

7. Library                                                         0.00%          0.00%

8. Student Services                                                0.00%          0.00%
9. Utility Cost Adjustment                                         0.00%          0.00%


Published Off-Campus Rate -Research DOD Contracts                 30.0%         30.0%




Name :
              Senior Director Cost Accounting and Procurement
Title:
                3/5/2021
Date:
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Components of Published Facilities and Administrative Cost Rate


Institution:                     RFSUNY and SUNY at Albany
FY Covered by Rate:              Fiscal Year Ending 6/30/20 - 6/30/24

                                                             FYE 2020       FYE 2021         FYE 2022-24
         Rate Component                                       FINAL          PRED.             PRED.

1. a. Depreciation - Bldgs & Improvements                          0.30%            0.30%          0.30%

  b. Depreciation - Moveable Equipment                             0.10%            0.10%          0.10%

2. Interest                                                        0.10%            0.10%          0.10%

3. Operation & Maintenance                                         4.00%            4.00%          5.00%

4. General Administration                                          0.00%            0.00%          0.00% *

5. Departmental Administration                                    26.00%            26.00%        26.00% *

6. Sponsored Projects Administration                               0.00%            0.00%          0.00% *

7. Library                                                         1.50%            1.50%          1.50%

8. Student Services                                                0.00%            0.00%          0.00%


Published On-Campus Rate -Other Sponsored Activities             32.0%              32.0%         33.0%

* Reflects provisions of Uniform Guidance, Appendix III to Part 200, Section C.8.



Name :
              Senior Director Cost Accounting and Procurement
Title:
                 3/5/2021
Date:
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Components of Published Facilities and Administrative Cost Rate


Institution:                      RFSUNY and SUNY at Albany
FY Covered by Rate:               Fiscal Year Ending 6/30/20 - 6/30/24

                                                             FYE 2020 FYE 2021-24
         Rate Component                                       FINAL     PRED.

1. a. Depreciation - Bldgs & Improvements                          0.00%             0.00%

  b. Depreciation - Moveable Equipment                             0.00%             0.00%

2. Interest                                                        0.00%             0.00%

3. Operation & Maintenance                                         0.00%             0.00%

4. General Administration                                          0.00%             0.00% *

5. Departmental Administration                                    26.00%            26.00% *

6. Sponsored Projects Administration                               0.00%             0.00% *

7. Library                                                         0.00%             0.00%

8. Student Services                                                0.00%             0.00%


Published Off-Campus Rate -Other Sponsored Activities             26.0%             26.0%

* Reflects provisions of Uniform Guidance, Appendix III to Part 200, Section C.8.



Name :
                Senior Director Cost Accounting and Procurement
Title:
              3/5/2021
Date:
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Components of Published Facilities and Administrative Cost Rate


Institution:                      RFSUNY and SUNY at Albany
FY Covered by Rate:               Fiscal Year Ending 6/30/20 - 6/30/24

                                                                FYE 2020    FYE 2021         FYE 2022-24
         Rate Component                                          FINAL       PRED.             PRED.

1. a. Depreciation - Bldgs & Improvements                          3.10%            3.10%          3.90%

  b. Depreciation - Moveable Equipment                             0.20%            0.20%          0.20%

2. Interest                                                        1.30%            1.30%          1.80%

3. Operation & Maintenance                                         8.40%            8.40%          9.10%

4. General Administration                                          0.00%            0.00%          0.00% *

5. Departmental Administration                                    26.00%            26.00%        26.00% *

6. Sponsored Projects Administration                               0.00%            0.00%          0.00% *

7. Library                                                        14.00%            14.00%        14.00%

8. Student Services                                                0.00%            0.00%          0.00%



Published On-Campus Rate -Instruction                             53.0%             53.0%         55.0%

* Reflects provisions of Uniform Guidance, Appendix III to Part 200, Section C.8.



Name :
              Senior Director Cost Accounting and Procurement
Title:
                 3/5/2021
Date:
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Components of Published Facilities and Administrative Cost Rate


Institution:                     RFSUNY and SUNY at Albany
FY Covered by Rate:              Fiscal Year Ending 6/30/20 - 6/30/24

                                                             FYE 2020 FYE 2021-24
         Rate Component                                       FINAL     PRED.

1. a. Depreciation - Bldgs & Improvements                          0.00%             0.00%

  b. Depreciation - Moveable Equipment                             0.00%             0.00%

2. Interest                                                        0.00%             0.00%

3. Operation & Maintenance                                         0.00%             0.00%

4. General Administration                                          0.00%             0.00% *

5. Departmental Administration                                    26.00%            26.00% *

6. Sponsored Projects Administration                               0.00%             0.00% *

7. Library                                                         0.00%             0.00%

8. Student Services                                                0.00%             0.00%



Published Off-Campus Rate -Instruction                           26.0%              26.0%

* Reflects provisions of Uniform Guidance, Appendix III to Part 200, Section C.8.



Name :
              Senior Director Cost Accounting and Procurement
Title:
                3/5/2021
Date:
                      Case 1:25-cv-10338-AK    Document 6-31      Filed 02/10/25   Page 54 of 70




Components of Published Facilities and Administrative Cost Rate


Institution:                     RFSUNY and SUNY at Albany
FY Covered by Rate:              Fiscal Year Ending 6/30/20 - 6/30/24

                                                          FYE 2020      FYE 2021      FYE 2022-23 FYE 2024
         Rate Component                                    FINAL         PRED.          PRED.      PRED.

1. a. Depreciation - Bldgs & Improvements                       0.00%         0.00%         0.00%    0.00%

  b. Depreciation - Moveable Equipment                          0.00%         0.00%         0.00%    0.00%

2. Interest                                                     0.00%         0.00%         0.00%    0.00%

3. Operation & Maintenance                                      0.00%         0.00%         0.00%    0.00%

4. General Administration                                       0.50%         0.50%         0.50%    0.50%

5. Departmental Administration                                  0.00%         0.00%         0.00%    0.00%
6. Sponsored Projects Administration                            5.50%         5.50%         6.50%    7.50%

7. Library                                                      0.00%         0.00%         0.00%    0.00%

8. Student Services                                             0.00%         0.00%         0.00%    0.00%


Published Rate -IPA                                             6.0%         6.0%           7.0%     8.0%




Name :
              Senior Director Cost Accounting and Procurement
Title:
              3/5/2021
Date:
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    Friedman Declaration



                        Exhibit E
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                      C OLLEGES AND UNIVERSITIES RATE AGREEMENT


EIN: 1146013200F6                                              Date: 09/04/2024
ORGANIZATION:                                                  FILING REF.: The preceding
RFSUNY and SUNY at Buffalo                                     agreement was dated
35 State Street, 3rd Floor                                     04/15/2024
Albany, NY 12207-2826

The rates approved in this agreement are for use on grants, contracts and other agreements
with the Federal Government, subject to the conditions in Section III.

SECTION I: INDIRECT COST RATES

 RATE TYPES:     FIXED    FINAL   PROV. (PROVISIONAL)              PRED. (PREDETERMINED)

         EFFECTIVE PERIOD
 TYPE    FROM         TO                 RATE(%) LOCATION         APPLICABLE TO
 PRED.   07/01/2024      06/30/2025        61.00 On-Campus        Research
 PRED.   07/01/2025      06/30/2029        60.10 On-Campus        Research
 PRED.   07/01/2024      06/30/2025        64.00 On-Campus        Research DOD Contract
 PRED.   07/01/2025      06/30/2029        63.10 On-Campus        Research DOD Contract
 PRED.   07/01/2024      06/30/2029        29.00 Off-Campus       Research DOD Contract
 PRED.   07/01/2024      06/30/2029        55.50 On-Campus        Instruction
 PRED.   07/01/2024      06/30/2029        42.00 On-Campus        Other Sponsored Programs
 PRED.   07/01/2024      06/30/2029        26.00 Off-Campus       All Prog. exc. DOD Con.
 PRED.   07/01/2024      06/30/2029         8.50 All              IPA (A)
 PROV.   07/01/2029      Until Amended                            Use same rates and conditions as
                                                                  those cited for fiscal year ending
                                                                  June 30, 2029.



*BASE




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ORGANIZATION: RFSUNY and SUNY at Buffalo
AGREEMENT DATE: 09/04/2024


For all awards beginning 6/30/2025 and earlier, the Base is as follows:

Total direct costs excluding capital expenditures (buildings, individual items of equipment; alterations
and renovations), that portion of each subaward in excess of $25,000; hospitalization and other fees
associated with patient care whether the services are obtained from an owned, related or third party
hospital or other medical facility; rental/maintenance of off-site activities; student tuition remission and
student support costs (e,g., student aid, stipends, dependency allowances, scholarships, fellowships).

For all awards beginning 7/1/2025 and later, the Base is as follows:

Total direct costs excluding capital expenditures (buildings, individual items of equipment; alterations
and renovations), that portion of each subaward in excess of $50,000; hospitalization and other fees
associated with patient care whether the services are obtained from an owned, related or third party
hospital or other medical facility; rental/maintenance of off-site activities; student tuition remission and
student support costs (e,g., student aid, stipends, dependency allowances, scholarships, fellowships).
_______________________________

(A) See Special Remarks (6)




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                                                 Page 2 of 6                                       R55710
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ORGANIZATION: RFSUNY and SUNY at Buffalo
AGREEMENT DATE: 09/04/2024


S ECTION I: FRINGE BENEFIT RATES**

 TYPE      FROM             TO             RATE(%) LOCATION          APPLICABLE TO
 FIXED     7/1/2024         6/30/2025        39.50 All               Regular Employees
 FIXED     7/1/2024         6/30/2025         31.00 All              Post Doctorals
 FIXED     7/1/2024         6/30/2025         14.00 All              Summer Employees
 FIXED     7/1/2024         6/30/2025         13.00 All              Graduate Students
 FIXED     7/1/2024         6/30/2025          5.50 All              Undergraduate Student
 PROV.     7/1/2025         6/30/2028         39.50 All              Regular Employees
 PROV.     7/1/2025         6/30/2028         33.00 All              Post Doctorals
 PROV.     7/1/2025         6/30/2028         14.50 All              Summer Employees
 PROV.     7/1/2025         6/30/2028         13.50 All              Graduate Students
 PROV.     7/1/2025         6/30/2028          5.50 All              Undergraduate Student


** DESCRIPTION OF FRINGE BENEFITS RATE BASE:
Salaries and wages.




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ORGANIZATION: RFSUNY and SUNY at Buffalo
AGREEMENT DATE: 09/04/2024


S ECTION II: SPECIAL REMARKS

TREATMENT OF FRINGE BENEFITS:
The fringe benefits are charged using the rate(s) listed in the Fringe Benefits Section of this Agreement.
The fringe benefits included in the rate(s) are listed below.




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ORGANIZATION: RFSUNY and SUNY at Buffalo
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1. These Facilities and Administrative cost rates apply when grants and contracts are awarded jointly to
Research Foundation for SUNY and SUNY at Buffalo.

2. For all activities performed in facilities not owned or leased by the institution or to which rent is
directly allocated to the project(s), the off-campus rate will apply. Actual costs will be apportioned
between on-campus and off-campus components. Each portion will bear the appropriate rate.

3. The fringe benefit costs listed below are reimbursed to the grantee through the direct fringe benefit
rates applicable to Research Foundation employees: Retiree Health Insurance, Retirement Expense,
Social Security, NYS Unemployment Insurance, NYS Disability Insurance, Group Health Insurance, Group
Life Insurance, Long Term Disability Insurance, Workers' Compensation, Dental Insurance, Vacation &
Sick Leave*, and Vision Benefits.

*This component consists of payments for accrued unused vacation leave made in accordance with the
Research Foundation Leave Policy to employees who have terminated, changed accruing status, or
transferred. It also includes payments for absences over 30 calendar-days that are charged to sick leave.

The fringe benefit costs for State University of New York employees are charged utilizing the New York
State fringe benefit rate for federal funds. This approved rate is contained in the New York State-Wide
Cost Allocation Plan. This rate includes the following costs: Social Security, Retirement, Health Insurance,
Unemployment Benefits, Workers' Compensation, Survivors' Benefits, Dental Insurance, Employee Benefit
Funds, and Vision Benefits.

4. Equipment means tangible personal property (including information technology systems) having a
useful life of more than one year and a per-unit acquisition cost which equals or exceeds:

For all awards beginning 6/30/2025 and earlier, $5,000
For all awards beginning 7/1/2025 and later, $10,000

5. Treatment of Paid Absences: *Vacation, holiday, sick leave pay and other paid absences are included
in salaries and wages and are claimed on grants, contracts and other agreements as part of the normal
cost for salaries and wages. Separate claims for the cost of these paid absences are not made.

6. This rate applies to positions covered under the Intergovernmental Personnel Act (IPA) Mobility
Program. This rate includes the applicable administrative costs only.

7. Your FB proposal based on actual costs for the fiscal year ended 06/30/2024 is due in our office by
12/31/2024, and you IDC proposal based on actual costs for the fiscal year ending 06/30/2028 is due
in our office by 12/31/2028.




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ORGANIZATION: RFSUNY and SUNY at Buffalo
AGREEMENT DATE: 09/04/2024


S ECTION III: GENERAL

 A.       LIMITATIONS:
 The rates in this Agreement are subject to any statutory or administrative limitations and apply to a given grant, contract or other
 agreement only to the extent that funds are available. Acceptance of the rates is subject to the following conditions: (1) Only costs
 incurred by the organization were included in its indirect cost pool as finally accepted: such costs are legal obligations of the
 organization and are allowable under the governing cost principles; (2) The same costs that have been treated as indirect costs are not
 claimed as direct costs; (3) Similar types of costs have been accorded consistent accounting treatment; and (4) The information
 provided by the organization which was used to establish the rates is not later found to be materially incomplete or inaccurate by the
 Federal Government. In such situations the rate(s) would be subject to renegotiation at the discretion of the Federal Government.

 B.       ACCOUNTING CHANGES:
 This Agreement is based on the accounting system purported by the organization to be in effect during the Agreement period.
 Changes to the method of accounting for costs which affect the amount of reimbursement resulting from the use of this Agreement
 require prior approval of the authorized representative of the cognizant agency. Such changes include, but are not limited to, changes
 in the charging of a particular type of cost from indirect to direct. Failure to obtain approval may result in cost disallowances.

 C.       FIXED RATES:
 If a fixed rate is in this Agreement, it is based on an estimate of the costs for the period covered by the rate. When the actual costs for
 this period are determined, an adjustment will be made to a rate of a future year(s) to compensate for the difference between the
 costs used to establish the fixed rate and actual costs.

 D.       USE BY OTHER FEDERAL AGENCIES:
 The rates in this Agreement were approved in accordance with the authority in Title 2 of the Code of Federal Regulations, Part 200 (2
 CFR 200), and should be applied to grants, contracts and other agreements covered by 2 CFR 200, subject to any limitations in A
 above. The organization may provide copies of the Agreement to other Federal Agencies to give them early notification of the
 Agreement.

 E.       OTHER:
 If any Federal contract, grant or other agreement is reimbursing indirect costs by a means other than the approved rate(s) in this
 Agreement, the organization should (1) credit such costs to the affected programs, and (2) apply the approved rate(s) to the
 appropriate base to identify the proper amount of indirect costs allocable to these programs.


BY THE INSTITUTION:                                                          ON BEHALF OF THE GOVERNMENT:

RFSUNY and SUNY at Buffalo                                                   DEPARTMENT OF HEALTH AND HUMAN SERVICES
                                                                             (AGENCY)                        Digitally signed by Darryl W.
(INSTITUTION)
                                                                              Darryl W. Mayes -S Mayes -S
                                                                                                             Date: 2024.11.18 07:27:44 -05'00'
                                                                             (SIGNATURE)
(SIGNATURE)

David Martin                                                                 Darryl W. Mayes
(NAME)                                                                       (NAME)


Assoc. Director Cost Accounting & AP/Purchasing                              Deputy Director, Cost Allocation Services
(TITLE)                                                                      (TITLE)


 11/19/2024                                                                  09/04/2024
(DATE)                                                                       (DATE)


                                                                             HHS REPRESENTATIVE: Ryan McCarthy
                                                                             TELEPHONE:                       (212) 264-2069




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Components of Published Facilities & Administrative Cost Rate

Institution : RFSUNY and SUNY at Buffalo
Rate Type:                                    Pred.      Pred.
                                             7/1/24-    7/1/25-
FY Covered by Rate:                          06/30/25   06/30/29

Rate Component

1. Depreciation - Bldgs & Improvements         5.5%       5.5%

2. Depreciation - Equipment                    4.0%       3.5%

3. Operation & Maintenance                    17.2%      16.8%

4. Interest                                    6.0%       6.0%

5. Library                                     1.3%       1.3%

6. General Administration                      0.0%       0.0%

7. Departmental Administration                26.0%      26.0%

8. Sponsored Funds Administration              0.0%       0.0%

9. Utility Cost Adjustment                     1.0%       1.0%

Published On-Campus Rate - Research           61.0%      60.1%


* Reflects provisions of Appendix III to Part 200 of Uniform Guidance - Indirect (F&A)
Costs Identification and Assignment, and Rate Determination for Institutions of Higher
Education (IHEs), C.8. dated December 26, 2013.



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Title Assoc. Director Cost Accounting & AP/Purchasing


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Components of Published Facilities & Administrative Cost Rate

Institution : RFSUNY and SUNY at Buffalo
Rate type:                                  Pred.
                                           7/1/24-
FY Covered by Rate:                        06/30/29

Rate Component

1. Depreciation - Bldgs & Improvements      0.0%

2. Depreciation - Equipment                 0.0%

3. Operation & Maintenance                  0.0%

4. Interest                                 0.0%

5. Library                                  0.0%

6. General Administration                   0.0%         *

7. Departmental Administration             26.0%         *

8. Sponsored Funds Administration           0.0%         *

9. Utility Cost Adjustment                  0.0%

Published Off-Campus Rate - Research       26.0%



* Reflects provisions of Appendix III to Part 200 of Uniform Guidance - Indirect (F&A)
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Components of Published Facilities & Administrative Cost Rate

Institution : RFSUNY and SUNY at Buffalo
Rate type:                                      Pred.      Pred.
                                               7/1/24-    7/1/25-
FY Covered by Rate:                            06/30/25   06/30/29

Rate Component

1. Depreciation - Bldgs & Improvements          5.0%        5.0%

2. Depreciation - Equipment                     4.0%        3.5%

3. Operation & Maintenance                      17.7%      17.3%

4. Interest                                     6.0%        6.0%

5. Library                                      1.3%        1.3%

6. General Administration                       6.8%        6.8%

7. Departmental Administration                  14.7%      14.7%

8. Sponsored Funds Administration               7.5%        7.5%

9. Utility Cost Adjustment                      1.0%        1.0%

Published On-Campus Rate - Research DOD         64.0%      63.1%



* Reflects provisions of Appendix III to Part 200 of Uniform Guidance - Indirect (F&A)
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Components of Published Facilities & Administrative Cost Rate

Institution : RFSUNY and SUNY at Buffalo
Rate type:                                      Pred.
                                               7/1/24-
FY Covered by Rate:                            06/30/29

Rate Component

1. Depreciation - Bldgs & Improvements          0.0%

2. Depreciation - Equipment                     0.0%

3. Operation & Maintenance                      0.0%

4. Interest                                     0.0%

5. Library                                      0.0%

6. General Administration                       6.8%         *

7. Departmental Administration                  14.7%        *

8. Sponsored Funds Administration               7.5%         *

9. Utility Cost Adjustment                      0.0%

Published Off-Campus Rate - Research DOD        29.0%



* Reflects provisions of Appendix III to Part 200 of Uniform Guidance - Indirect (F&A)
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Components of Published Facilities & Administrative Cost Rate

Institution : RFSUNY and SUNY at Buffalo
Rate type:                                           Pred.
                                                    7/1/24-
FY Covered by Rate:                                 06/30/29

Rate Component

1. Depreciation - Bldgs & Improvements               6.8%

2. Depreciation - Equipment                          0.6%

3. Operation & Maintenance                           10.5%

4. Interest                                          3.4%

5. Library                                           8.2%

6. General Administration                            0.0%         *

7. Departmental Administration                       26.0%        *

8. Sponsored Funds Administration                    0.0%         *

9. Student Services                                  0.0%

Published On-Campus Rate - Instruction               55.5%

* Reflects provisions of Appendix III to Part 200 of Uniform Guidance - Indirect (F&A)
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Components of Published Facilities & Administrative Cost Rate

Institution : RFSUNY and SUNY at Buffalo
Rate type:                                           Pred.
                                                    7/1/24-
FY Covered by Rate:                                 06/30/29

Rate Component

1. Depreciation - Bldgs & Improvements               0.0%

2. Depreciation - Equipment                          0.0%

3. Operation & Maintenance                           0.0%

4. Interest                                          0.0%

5. Library                                           0.0%

6. General Administration                            0.0%         *

7. Departmental Administration                       26.0%        *

8. Sponsored Funds Administration                    0.0%         *

9. Student Services                                  0.0%

Published Off-Campus Rate - Instruction              26.0%

* Reflects provisions of Appendix III to Part 200 of Uniform Guidance - Indirect (F&A)
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Components of Published Facilities & Administrative Cost Rate

Institution : RFSUNY and SUNY at Buffalo
Rate type:                                  Pred.
                                           7/1/24-
FY Covered by Rate:                        06/30/29

Rate Component

1. Depreciation - Bldgs & Improvements      2.0%

2. Depreciation - Equipment                 2.0%

3. Operation & Maintenance                  9.3%

4. Interest                                 1.6%

5. Library                                  1.1%

6. General Administration                   0.0%

7. Departmental Administration             26.0%

8. Sponsored Funds Administration           0.0%

9. Student Services                         0.0%

Published On-Campus Rate - OSP             42.0%



* Reflects provisions of Appendix III to Part 200 of Uniform Guidance - Indirect (F&A)
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Components of Published Facilities & Administrative Cost Rate

Institution : RFSUNY and SUNY at Buffalo
Rate type:                                  Pred.
                                           7/1/24-
FY Covered by Rate:                        06/30/29

Rate Component

1. Depreciation - Bldgs & Improvements      0.0%

2. Depreciation - Equipment                 0.0%

3. Operation & Maintenance                  0.0%

4. Interest                                 0.0%

5. Library                                  0.0%

6. General Administration                   0.0%

7. Departmental Administration             26.0%

8. Sponsored Funds Administration           0.0%

9. Student Services                         0.0%

Published Off-Campus Rate - OSP            26.0%



* Reflects provisions of Appendix III to Part 200 of Uniform Guidance - Indirect (F&A)
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Components of Published Facilities & Administrative Cost Ra

Institution : RFSUNY and SUNY at Buffalo
Rate type:                               Pred.
                                        7/1/24-
FY Covered by Rate:                    06/30/29

Rate Component

1. Depreciation - Bldgs & Improvements    0.0%

2. Depreciation - Equipment               0.0%

3. Operation & Maintenance                0.0%

4. Interest                               0.0%

5. Library                                0.0%

6. General Administration                 1.0%         *

7. Departmental Administration            0.0%         *

8. Sponsored Funds Administration         7.5%         *

9. Student Services                       0.0%

Published Rate - IPA                      8.5%

* Reflects provisions of Appendix III to Part 200 of Uniform G
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Name


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